
Landon, J.
The tenth article of the testator’s will contained the following clause:
“ I give, devise and bequeath unto my son Christopher Lorenzo (on condition that he complies with the conditions hereinafter named), my homestead farm.”
The will and codicil then made several bequests to his *201other children, $2,200 of which Christopher Lorenzo was required to pay. Then followed these clauses in the will:
“If in any case my son Christopher Lorenzo shall by ill or bad management become involved in debt in such a mom ner that said homestead farm would have to be sold by sheriff’s sale, or some other public sale, in that case I order and direct that $1,500 be kept out of the sale of said farm and equally divided among all my children as specified above.”
“ The bequests to my son Christopher Lorenzo are not id be considered valid or legal until he has fully paid the sums of money specified in this article, or in other words the money which he is to pay to my executors is to be a lien on the farm and wood lot till paid.”
Christopher Lorenzo did become, twelve years after the testator’s death, involved in debt in such a manner that the said homestead farm had to be sold at public sale to satisfy the mortgages which he placed upon it, and under which sale in foreclosure the defendants Bellinger now own the same. The trial court held that the provision for the payment of $1,500 was a valid one and a lien upon the land, and the judgment provides for its satisfaction by a sale thereof.
The testator devised his homestead farm to Christopher Lorenzo “on condition that he complies with the conditions hereinafter named.” These conditions are that he pay the legacies which he bequeaths to his other children. He explains his meaning thus, “the money which he is to pay to my executors is to be a lien on the farm and wood lot till paid.”
The conditions are not made grounds of forfeiture, but are secured by being made liens. The devise is absolute, and the devisee, by accepting it, becomes liable personally to pay the legacies charged upon it. Gridley v. Gridley, 24 N. Y., 134.
The devise is in fee simple, but incumbered with liens for the legacies unconditionally given. Fox v. Phelps, 17 Wend., 393; Helmer v. Shoemaker, 22 id., 137; Parsons v. Best, 1 T. &amp; C., 211; Roseboom v. Roseboom, 81 N. Y., 356; Clarke v. Leupp, 88 id., 228; Campbell v. Beaumont, 91 id., 465.
An estate in fee simple excludes the idea of any restraints upon the power of alienation, or of any liability to forfeiture, or of any limitations upon it. Hence when full title is given, any attempted restraint upon alienation must be void because unable to coexist with it, and repugnant to it. Same cases; Oxley v. Lane, 35 N. Y., 346; De Peyster v. Michael, 6 id., 491; Newkerk v. Newkerk, 2 Caines, 345; Craig v. Wells, 11 N. Y., 315.
*202But here the attempt appears to have been to permit to the devisee full power of alienation with liability to incumber his estate through bad management, but in the event of his incurring the lawful consequences of this liability, to charge a further legacy of $1,500 upon him, and keep the amount out of the proceeds realized to satisfy his liabilities.
The testator could give as many legacies as he chose. He could make their gift dependent upon the happening of a future event; in other words, could annex the gift to the event. Such a legacy would be valid provided the testator made lawful provision for its payment. The testator made no provision from his personal property for this legacy. But he attempted to provide for it at the expense of Christopher Lorenzo’s creditors. He contemplates the contingency that Christopher will become, by his bad management, so involved in debt that the homestead devised to him will have- to be sold to pay his debts. He admits the paramount right of the creditors to compel the sale to satisfy their demands, and then he insists that they must not be satisfied, and he tries to intercept the proceeds of the sale and apply them upon this legacy. The legacy does not vest while Christopher holds the land, and it is difficult to see how it can become a lien upon it afterwards. It is equally difficult to see how the testator can permit Christopher Lorenzo to squander his inheritance, and yet retain the. right to reclaim it afterwards and bestow it .anew. There seems to be no provision for the payment of this legacy except the impossible one of applying property after it has been wasted.
. This attempt to establish a legacy charge against the homestead is an attempt to impose a restraint upon the alienation of the estate in fee simple, devised to Christopher Lorenzo, and within the cases already cited is void.
If the devise had been to the soil, and in case he should become bankrupt or insolvent, or a judgment should be re-recovered against him, then over to satisfy this legacy it would have been good. Bramhall v. Ferris, 14 N. Y., 41, and cases there cited; Nichols v. Eaton, 91 U. S., 716.
In Bramhall v. Ferris it is held that a testator may devise his estate to A. to hold until some event happens like bankruptcy, and then give it to B. But in the absence of any devise over, A. will take the entire estate, and any attempt to clog it with creditors short of a devise over will be nugatory.
The court quotes with approval from Brandon v. Robinson (18 Vesey, 429), the distinction applicable to the case before us: -‘There is an obvious distinction between a disposition to a man until he becomes a bankrupt and then over, *203and an attempt to give him property and to prevent his creditors from obtaining any interest in it although it is his.”
This legacy was sought to be conditionally charged upon real estate. There was no trust, and no direction by the testator to sell the real estate to raise the legacy. There was no devise over for the purpose of satisfying it. Instead of an attempt to divest Christopher Lorenzo of the land by a devise over upon his becoming insolvent, he permits him to divest himself of it by his improvidence, and then attempts to intercept the proceeds. These proceeds are not his to bestow. They are not realized by any scheme of his, but by virtue of methods which he foresees and deprecates. This legacy fails because there was no lawful provision for its payment. The condition imposed upon the devisee’s full power of alienation is void, because it is a restraint repugnant to the estate in fee simple devised to him.
A question arises between the defendants respecting the priority of liability of the wood lot and homstead to sale, to satisfy the unpaid part of the $2,200 legacies, which were found to be liens upon both premises.
The homestead was first mortgaged to Bellinger, and the wood lot next mortgaged to Getman, and some of the defendants own the homestead under the sale in foreclosure of that parcel, and other defendants own the wood lot under the foreclosure sale of that parcel. The trial court held that these parcels should contribute ratably.
When Bellinger took the mortgage upon the homestead,: Christopher Lorenzo had the wood lot remaining from which to satisfy the legacies, and, as between them, the wood lot was liable to be sold first. Subject to that liability, Christopher Lorenzo gave the mortgage to Getman. Bo equities exist requiring a departure from the rule that as between successive purchasers of parcels of incumbered premises, the sale to satisfy the common incumbrance should be in inverse order of alienation. The purchasers at the two foreclosure sales, respectively took whatever title Christopher Lorenzo had at the date of the-mortgage under which the sale was had; the title to the homestead under the first mortgage was subject to the liens of the unpaid legacies, but equitably protected against them to the extent of the wood lot yet remaining in the hands of Christopher Lorenzo; and the title to the wood lot under the mortgage afterwards given upon it is subject to the same equities in favor of the homestead title, since the purchaser stands in Christopher Lorenzo’s shoes.
There was no appeal from that part of the judgment adjudging the invalidity of that clause of the will which imposed upon Christopher Lorenzo the payment of additional legacies in case he sold the homestead within fifteen years, and although we are urged to review it, we must decline to *204do so. It seems to have been an illegal restraint upon alienation.
The judgment should be modified by declaring the clause in the will void, which provided that in case Christopher Lorenzo should become involved in debt in such manner that the homestead would have to be sold, the sum of fifteen hundred dollars should be kept out of the sale, and paid to the testator’s other children, and by striking from the judgment the provisions dependent thereupon.
Also, by directing that the wood lot be first sold to pay the unpaid portions of the other legacies.
. Costs of this appeal are allowed to the appellants against the plaintiffs respondents.
Learned, P. J,, and Ingalls, J., concur.
